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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS

 RYAN, LLC, et al.,
                           Plaintiffs,
              v.
                                                  Civil Action No. 3:24-cv-986-E
 FEDERAL TRADE COMMISSION,

                           Defendant.

                              [PROPOSED] ORDER

      For good cause shown, the unopposed motion by amici curiae for leave to file

a brief in support of the Plaintiffs’ Motions for Stay of Effective Date and Preliminary

Injunction, ECF No. __, is hereby ORDERED, ADJUDGED, and DECREED, that

the motion is GRANTED.

SO ORDERED: ____________ _____, 2024

                                               BY THE COURT:




                                               Hon. Judge Ada E. Brown,
                                               United States Federal District Judge
